

People v Campbell (2022 NY Slip Op 03970)





People v Campbell


2022 NY Slip Op 03970


Decided on June 16, 2022


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: June 16, 2022

Before: Renwick, J.P., Manzanet-Daniels, Kern, Mazzarelli, Shulman, JJ. 


Index No. 0163/16 Appeal No. 16151 Case No. 2018-5281 

[*1]The People Of The State Of New York, Respondent,
vAnthony Campbell Defendant-Appellant.


Caprice R. Jenerson, Office of the Appellate Defender, New York (Margaret E. Knight of counsel), and Alston &amp; Bird LLP, New York (Wade G. Perrin of counsel), for appellant.
Alvin L. Bragg, Jr., District Attorney, New York (Sheila L. Bautista of counsel), for respondent.



Appeal from judgment, Supreme Court, New York County (Ronald A. Zweibel, J.), rendered September 15, 2016, convicting defendant, after a jury trial, of robbery in the third degree, grand larceny in the fourth degree and criminal possession of stolen property in the fourth degree, and sentencing him, as a second felony offender, to an aggregate term of 3½ to 7 years, unanimously dismissed as moot.
Defendant seeks a reduction of his sentence, claiming that it was excessive. Because he has completed his entire sentence, including parole supervision, this appeal is moot (see People v Alexander, 148 AD3d 521 [1st Dept 2017]).
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: June 16, 2022








